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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                           WESTERN DIVISION


 B.E. TECHNOLOGY, LLC,                )
                                      )
       Plaintiff,                     )
                                      )
 v.                                   )    No. 2:12-cv-02767-JPM-tmp
                                      )
 AMAZON DIGITAL SERVICES,             )
 INC.,                                )
                                      )
       Defendant.


 B.E. TECHNOLOGY, LLC,                )
                                      )
       Plaintiff,                     )
                                      )
 v.                                   )    No. 2:12-cv-02769-JPM-tmp
                                      )
 FACEBOOK, INC.,                      )
                                      )
       Defendant.                     )


 B.E. TECHNOLOGY, LLC,                )
                                      )
       Plaintiff,                     )
                                      )
 v.                                   )    No. 2:12-cv-02772-JPM-tmp
                                      )
 LINKEDIN CORP.,                      )
                                      )
       Defendant.                     )
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 B.E. TECHNOLOGY, LLC,                )
                                      )
       Plaintiff,                     )
                                      )
 v.                                   )    No. 2:12-cv-02781-JPM-tmp
                                      )
 GROUPON, INC.,                       )
                                      )
       Defendant.                     )


 B.E. TECHNOLOGY, LLC,                )
                                      )
       Plaintiff,                     )
                                      )
 v.                                   )    No. 2:12-cv-02782-JPM-tmp
                                      )
 PANDORA MEDIA, INC.,                 )
                                      )
       Defendant.                     )


 B.E. TECHNOLOGY, LLC,                )
                                      )
       Plaintiff,                     )
                                      )
 v.                                   )
                                      )
                                           No. 2:12-cv-02783-JPM-tmp
 TWITTER, INC.,                       )
                                      )
       Defendant.                     )


 B.E. TECHNOLOGY, LLC,                )
                                      )
       Plaintiff,                     )
                                      )
 v.                                   )    No. 2:12-cv-02823-JPM-tmp
                                      )
 BARNES & NOBLE, INC.,                )
                                      )
       Defendant.                     )




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 B.E. TECHNOLOGY, LLC,                )
                                      )
       Plaintiff,                     )
                                      )    No. 2:12-cv-02824-JPM-tmp
 v.                                   )
                                      )
 SAMSUNG TELECOMMUNICATIONS           )
 AMERICA, LLC,                        )
                                      )
       Defendant.                     )


 B.E. TECHNOLOGY, LLC,                )
                                      )
       Plaintiff,                     )
                                      )
 v.                                   )    No. 2:12-cv-02825-JPM-tmp
                                      )
 SAMSUNG ELECTRONICS AMERICA,         )
 INC.,                                )
                                      )
       Defendant.                     )


 B.E. TECHNOLOGY, LLC,                )
                                      )
       Plaintiff,                     )
                                      )
 v.                                   )    No. 2:12-cv-02826-JPM-tmp
                                      )
 SONY COMPUTER ENTERTAINMENT          )
 AMERICA LLC,                         )
                                      )
       Defendant.                     )




                                      3
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 B.E. TECHNOLOGY, LLC,                )
                                      )
       Plaintiff,                     )
                                      )
 v.                                   )    No. 2:12-cv-02827-JPM-tmp
                                      )
 SONY MOBILE COMMUNICATIONS           )
 (USA) INC.,                          )
                                      )
       Defendant.                     )


 B.E. TECHNOLOGY, LLC,                )
                                      )
       Plaintiff,                     )
                                      )
 v.                                   )    No. 2:12-cv-02828-JPM-tmp
                                      )
 SONY ELECTRONICS INC.,               )
                                      )
       Defendant.                     )


 B.E. TECHNOLOGY, LLC,                )
                                      )
       Plaintiff,                     )
                                      )
 v.                                   )    No. 2:12-cv-02829-JPM-tmp
                                      )
 MICROSOFT CORP.,                     )
                                      )
       Defendant.                     )


 B.E. TECHNOLOGY, LLC,                )
                                      )
       Plaintiff,                     )
                                      )
 v.                                   )    No. 2:12-cv-02830-JPM-tmp
                                      )
 GOOGLE INC.,                         )
                                      )
       Defendant.                     )




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 B.E. TECHNOLOGY, LLC,                )
                                      )
       Plaintiff,                     )
                                      )
 v.                                   )    No. 2:12-cv-02831-JPM-tmp
                                      )
 APPLE INC.,                          )
                                      )
       Defendant.                     )


 B.E. TECHNOLOGY, LLC,                )
                                      )
       Plaintiff,                     )
                                      )
 v.                                   )    No. 2:12-cv-02833-JPM-tmp
                                      )
 PEOPLE MEDIA, INC.,                  )
                                      )
       Defendant.                     )


 B.E. TECHNOLOGY, LLC,                )
                                      )
       Plaintiff,                     )
                                      )
 v.                                   )    No. 2:12-cv-02834-JPM-tmp
                                      )
 MATCH.COM, LLC,                      )
                                      )
       Defendant.                     )


 B.E. TECHNOLOGY, LLC,                )
                                      )
       Plaintiff,                     )
                                      )
 v.                                   )    No. 2:12-cv-02866-JPM-tmp
                                      )
 MOTOROLA MOBILITY HOLDINGS,          )
 LLC,                                 )
                                      )
       Defendant.                     )




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                      ORDER GRANTING MOTIONS TO STAY


       Before the Court are (1) the Motion to Stay Litigation

 Pending Inter Partes Review (“IPR”) filed on November 22, 2013

 by Defendant Samsung Electronics America, Inc. (“SEA”) and

 Defendant Samsung Telecommunications America, LLC (“STA”1;

 collectively, with SEA, “Samsung”) (ECF No. 66),2 (2) the Motion

 to Stay Proceedings Pending IPR filed on November 26, 2013 by

 Defendant Groupon, Inc. (“Groupon”) (No. 12-cv-02781, ECF No.

 55), and (3) the Motion to Stay Litigation Pending IPR filed on

 November 27, 2013 by Defendant Facebook, Inc. (“Facebook”)              (No.

 12-cv-02769-JPM-tmp, ECF No. 71.)

       For the following reasons, the Motions are GRANTED.

 I.    BACKGROUND

       These related cases3 concern alleged infringement of

 Plaintiff B.E. Technology, LLC’s (“B.E.”) patents, United States


 1
   B.E. Technology, L.L.C. v. Samsung Telecommunications America, LLC,
 No. 2:12-cv-02824-JPM-tmp.
 2
   Unless otherwise noted, all ECF citations refer to B.E. Technology, L.L.C.
 v. Samsung Electronics America, Inc., No. 12-cv-02825-JPM-tmp.
 3
   The related cases are as follows: B.E. Technology, LLC v. Amazon Digital
 Services, Inc., No. 12-cv-02767-JPM-tmp; B.E. Technology, LLC v. Facebook,
 Inc., 12-cv-2769-JPM-tmp; B.E. Technology, Inc. v. LinkedIn Corp., No. 2:12-
 cv-02772-JPM-tmp; B.E. Technology, LLC v. Groupon, Inc., 12-cv-2781-JPM-cgc;
 B.E. Technology, LLC v. Pandora Media, Inc., 12-cv-2782-JPM-cgc; B.E.
 Technology, LLC v. Twitter, Inc., No. 2:12-cv-02783-JPM-tmp; B.E. Technology,
 LLC v. Barnes & Noble, Inc., 12-cv-2823-JPM-tmp; B.E. Technology, Inc. v.
 Samsung Telecommunications America, LLC., No. 12-cv-02824-JPM-tmp; B.E.
 Technology, L.L.C. v. Samsung Electronics America, Inc., No. 12-cv-02825-JPM-
 tmp; B.E. Technology, LLC v. Sony Computer Entertainment America, LLC, 12-cv-
 2826-JPM-tmp; B.E. Technology, LLC v. Sony Mobile Communications (USA), Inc.,
 12-cv-2827-JPMtmp; B.E. Technology, LLC v. Sony Electronics, Inc., 12-cv-
 2828-JPM-tmp; B.E. Technology, LLC v. Microsoft Corp., 12-cv-2829-JPM-tmp;

                                       6
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 Patent No. 6,771,290 (the “‘290 patent”), and United States

 Patent No. 6,628,314 (the “‘314 patent”).          (See Def’s Mem. at 3,

 ECF No. 66-1.)

       On October 9, 2013, Samsung filed an IPR petition with the

 Patent and Trademark Office (“PTO”) seeking review of claims 2

 and 3 of the ‘290 patent.       (Def’s Mem. at 3, ECF No. 66-1.)

 “Four other IPR petitions challenging the same claims of the

 ‘290 patent were filed at around the same time: Google filed two

 petitions on October 7, Sony filed a petition on October 8, and

 Microsoft filed a petition on October 9.”          (ECF No. 66-1,

 Exs. 2-5.)    Samsung also understands that four IPRs have been

 filed against the ‘314 patent.        (Def’s Mem. at 4, ECF No. 66-1.)

 Many of the other 16 remaining defendants filed petitions for

 IPR for both the ‘290 and ‘314 patents.          (Def’s Mem. at 4, ECF

 No. 66-1.)    Plaintiff does not oppose the motion to stay so long

 as all litigation involving ‘290 and ‘314 is also stayed.

 (Def’s Certificate of Consultation at 4, ECF No. 66.)

 II.   STANDARD

       “The decision whether to grant a stay of a particular

 action is within the inherent power of the Court and is

 discretionary.”     Ellis v. Merck & Co., Inc., No. 06–1005–T/AN,


 B.E. Technology, LLC v. Google Inc., 12-cv-2830-JPM-tmp; B.E. Technology, LLC
 v. Apple Inc., 12-cv-2831-JPM-tmp; B.E. Technology, LLC v. People Media,
 Inc., 12-cv-2833-JPM-tmp; B.E. Technology, LLC v. Match.com, LLC, 12-cv-2834-
 JPM-tmp; and B.E. Technology, LLC v. Motorola Mobility Holdings, LLC, 12-cv-
 2866.

                                       7
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 2006 WL 448694 (W.D. Tenn. Feb. 19, 2006) (citation omitted).

 “[T]he power to stay proceedings is incidental to the power

 inherent in every court to control the disposition of the causes

 on its docket with economy of time and effort for itself, for

 counsel, and for litigants.”       Gray v. Bush, 628 F.3d 779, 785

 (6th Cir. 2010) (alteration in original) (quoting Landis v.

 North American Co., 299 U.S. 248, 254 (1936)) (internal

 quotation marks omitted).

       “To determine whether a stay pending [IPR] is appropriate,

 courts apply the same factors as determining whether to stay a

 case pending reexamination.”       Regents of Univ. of Michigan v.

 St. Jude Med., Inc., No. 12-12908, 2013 WL 2393340, at *2 (E.D.

 Mich. May 31, 2013) (citation omitted).         In determining whether

 to stay litigation pending patent reexamination by the PTO,

 courts generally consider the following three factors:              “(1)

 whether a stay would unduly prejudice or present a clear

 tactical disadvantage to the non-moving party; (2) whether a

 stay will simplify the issues in question and trial of the case;

 and (3) whether discovery is complete and whether a trial date

 has been set.”    Procter & Gamble Co. v. Team Techs., Inc., No.

 1:12-cv-552, 2013 WL 4830950, at *2 (S.D. Ohio Sept. 10, 2013)

 (quoting Tdata Inc. v. Aircraft Technical Publishers,

 Nos. 2:03–cv–264, 2:04–cv–1072 (S.D. Ohio Jan. 4, 2008)).

 “Courts have inherent power to manage their dockets and stay

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 proceedings, including the authority to order a stay pending

 conclusion of a PTO reexamination.”        Ethicon Inc. v. Quigg, 849

 F.2d 1422, 1426–27 (Fed. Cir. 1988) (citation omitted).

 III. ANALYSIS

       Samsung argues that all three factors favor staying this

 case pending the outcome of the IPR.        Groupon and Facebook make

 similar arguments.     The Court agrees with Samsung, Groupon, and

 Facebook.    These three factors are addressed in turn.

       A.    Undue Prejudice or Clear Tactical Disadvantage

       Samsung argues that a stay will not prejudice any parties

 in this case.    First, “Samsung also understands that most, if

 not all, of the 16 other defendants will either move to stay

 their respective cases, or will not actively oppose entry of a

 stay in their cases—again so long as all the other cases

 involving the ‘290 and ‘314 patents are also stayed.”           (Def’s

 Mem. at 1, ECF No. 66-1.)      Samsung and B.E. agree that this case

 should be stayed pending the resolution of the IPR petitions -

 so long as all other pending litigation regarding the ‘290 and

 ‘314 patent are also stayed.       (Def’s Mem. at 1-2, ECF No. 66-1.)

 According to Samsung, B.E. would not be prejudiced since a stay

 will not unduly delay litigation.        (Id. at 10).

       Samsung contends that since “B.E. does not compete with

 Samsung or any of the other [D]efendants” and “exists solely to

 enforce its patent rights,” monetary damages will be B.E.’s only

                                      9
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 remedy and this remedy will not be impacted by a stay.               (Id. at

 10 (citing Software Rights Archive, 2013 WL 5225522, at *6); see

 also Visual Interactive Phone Concepts, Inc. v. Samsung

 Telecommunications America, LLC., No. 11–12945, 2012 WL 1049197,

 at *3 (E.D. Mich. Mar. 28. 2012).)

       Samsung claims that “most, if not all, of the 16 other

 defendants will either move to stay their respective cases, or

 will not actively oppose an entry of a stay in their cases,” so

 long as all the cases are also stayed.            (Def’s Mem. at 1, ECF

 No. 66-1.)

       Second, Samsung contends that the Court can sua sponte stay

 the other actions, without the other Defendants making formal

 motions.     (Def’s Mem. at 2, ECF No. 66-1, citing Cascades

 Computer Innovation, LLC v. SK Hynix Inc., No. 11 C 4356, 2012

 WL 2086469, at *2 (N.D. Ill. May 25, 2012).)            Samsung suggests

 doing so would promote judicial efficiency and reduce

 unnecessary duplication of work.          (Id.)

       Similarly, Groupon and Facebook argue that since B.E. is a

 non-practicing entity seeking to protect its patent rights and

 that B.E. does not oppose staying all litigation, B.E. will not

 be unfairly prejudiced.      (No. 12-cv-02871-JPM-tmp, ECF No. 55-1

 at 7); (No. 12-cv-02769-JPM-tmp, ECF No. 71-1 at 1.)

       Samsung correctly distinguishes this Court’s decision in

 One Stockduq Holdings, LLC v. Becton, Dickinson & Co., No. 2:12-

                                      10
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 cv-3037-JPM-tmp, ECF No. 53, at 3-4 (W.D. Tenn. May 6, 2013)

 from the present case.      Though both cases involved a petition

 for IPR that had not yet been granted, in the present case, B.E.

 is in favor of the present motion to stay, so long as all of the

 other pending cases regarding patents ‘290 and ‘314 before this

 court are stayed.     B.E.’s assent indicates that B.E. will not

 suffer prejudice as a result of staying the present cases.

       Accordingly, the Court finds that this factor weighs in

 favor of granting a stay.

       B.    Simplification of Issues

       Samsung argues that statistically speaking, “it is a near

 certainty that an IPR will be instituted on at least one of

 those five petitions” and that the PTO will cancel at least some

 of the challenged claims.       (Def’s Mem. at 7, ECF No. 66-1.)

       The Court notes that Samsung’s recitation of the statistics

 on the granting of IPR petitions is not persuasive.           Samsung

 conflates the statistics for the overall rate of granting IPR

 petitions with the likelihood of the instant five petitions

 being granted.     The PTO does not grant IPR petitions at random,

 but based on the merit of each petition.         See 35 U.S.C. § 314(a)

 (The relevant standard for granting a petition for IPR is if

 “there is a reasonable likelihood that the petitioner would

 prevail with respect to at least 1 of the claims challenged in

 the petition.”)

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       Statistics aside, assuming that the PTO will grant at least

 some of the petitions for IPR and institute IPR proceedings,

 Samsung argues that the staying the litigation will simplify any

 litigation pending in this Court, regardless of the outcome of

 the review.    “Even if all claims are confirmed by the PTO, the

 record of the [IPR] will assist this Court in reducing the

 length and complexity of this litigation and will limit what

 issues are left to be resolved by this Court.”          (Def’s Mem. at

 7, ECF No. 66-1 (quoting One Stockduq Holdings, LLC v. Becton,

 Dickinson & Co., No. 2:12-cv-3037-JPM-tmp, ECF No. 85 (W.D.

 Tenn. Nov. 12, 2013)).)

       Groupon and Facebook also argue that a stay will simplify

 issues for trial.     (No. 12-cv-02871-JPM-tmp, ECF No. 55-1 at 8);

 (No. 12-cv-02769-JPM-tmp, ECF No. 71-1 at 7.)

       This Court agrees that granting the stay to allow the

 petition for IPR to be considered will simplify the dispute at

 hand and promote judicial efficiency.         Accordingly, the Court

 finds that this factor weighs in favor of granting a stay.

       C.    Stage of Litigation

       Samsung argues that the related cases are early in the

 stages of litigation, and therefore this factor weighs in favor

 of granting the stay.      (Def’s Mem. at 4, ECF No. 66-1.)          The

 cases involving the ‘290 patent are early in discovery.              Samsung

 provides a brief overview of the current stage of litigation:

                                      12
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       No LPR 2.1(d) Patent Scheduling Conference has taken
       place, and no trial date has been set. The limited
       discovery that has occurred includes primarily the
       exchanges mandated by the Local Patent Rules.
       Preliminary infringement, non-infringement,
       invalidity, and validity contentions have been
       exchanged, and the parties exchanged their preliminary
       and final identification of terms for construction on
       September 23 and November 5, 2013, respectively. Only
       one deposition has taken place in this case, and that
       deposition was of a third-party regarding prior art.

 (Id. (citation omitted).)       Samsung also contends that absent a

 stay, more discovery will be needed.         (Id.)    Samsung argues that

 if “there is more work ahead of the parties and the Court than

 behind the parties and the Court,” this factor weighs in favor

 of granting the motion to stay.        (Def’s Mem. at 9, ECF No. 66-1

 (quoting Semiconductor Energy Lab. Co. v. Chimei Innolux Corp.,

 No. SACV 12–21–JST (JPRx), 2012 WL 7170593, at *2 (C.D. Cal.

 Dec. 19, 2012).)

       Groupon and Facebook similarly note that the litigation is

 in its early stages and will not be harmed by a stay.            (No. 12-

 cv-02871-JPM-tmp, ECF No. 55-1 at 9); (No. 12-cv-02769-JPM-tmp,

 ECF No. 71-1 at 8.)

       The Court agrees with Samsung, Groupon, and Facebook that

 the litigation is in its early stages, and thus a stay would not

 be overly disruptive of the related cases.           Accordingly, the

 Court finds that this factor weighs in favor of granting a stay.




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 IV.   CONCLUSION

       For the foregoing reasons, Samsung’s Motion to Stay (ECF

 No. 66-1), Groupon’s Motion to Stay (No. 12-cv-02871-JPM-tmp,

 ECF No. 55), and Facebook’s Motion to Stay (No. 12-cv-02769-JPM-

 tmp, ECF No. 71) are GRANTED.        All proceedings for the related

 cases are hereby STAYED pending a determination from the PTO.

 The parties are also ORDERED to file the PTO’s determination of

 whether to institute IPR within three (3) days of the PTO’s

 decision, and the parties are further ORDERED to submit a

 proposed amended scheduling order within ten (10) days of the

 PTO’s determination.

       The parties may move to lift the stay for good cause prior

 to a determination of the IPR petition by the PTO.

       IT IS SO ORDERED this 6th day of December, 2013.



                                           /s/ Jon P. McCalla________
                                           JON P. McCALLA
                                           U.S. DISTRICT JUDGE




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